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                                       Certificate Number: 14751-CAC-DE-037630239
                                       Bankruptcy Case Number: 19-11603


                                                      14751-CAC-DE-037630239




              CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on July 28, 2023, at 12:04 o'clock PM PDT, MICHAEL S HUR
completed a course on personal financial management given by internet by
$$$$$$0$ BK Class, Inc., a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
Central District of California.




Date:   July 28, 2023                  By:      /s/AMEY AIONO


                                       Name: AMEY AIONO


                                       Title:   Certified Credit Counselor
